
Titus, Ch. J.
The facts in this case are similar in all respects to the facts in the case bearing the same title, and designated “Ho. 1.” It was stipulated on the trial that the evidence taken in Ho. 1 should be considered as applicable to this case. The plaintiff here claims that the defendant violated § 1, chap. 5, of the city ordinances, in crossing Main street at a greater rate of speed than six miles an hour. A judgment of $50 was given against the defendant by the court below. It was determined in the other case that the ordinance regulating the rate of speed was not in*157valid, and the plaintiff was entitled to recover. It appears here, and is undisputed, that on the 25th day of March, 1892, the defendant did pass its train across Main street at a greater rate of speed than six miles an hour. The facts being undisputed, the judgment of the court below should be affirmed, with costs.
Hatch and White, JJ., concur.
